


  ATTORNEY DISCIPLINARY PROCEEDINGS.
 

  PER CURIAM.
  
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  hThe Office of Disciplinary Counsel (“ODC”) commenced an investigation into allegations that respondent mishandled his client trust account by allowing the account to become overdrawn as the result of the assessment of bank service charges. Prior to the institution of formal charges, respondent and the ODC submitted a joint petition for consent discipline, in which the parties stipulated that respondent has violated Rule 1.15(a) of the Rules of Professional Conduct. Having reviewed the petition,
 

  IT IS ORDERED that the Petition for Consent Discipline be accepted and that Willard J. Brown, Sr., Louisiana Bar Roll number 23405, be suspended from the practice of law for a period of six months, fully deferred, followed by a two-year period of supervised probation governed by the terms and conditions set forth in the Petition for Consent Discipline. The probationary period shall commence from the date respondent, the ODC, and the probation monitor execute a formal probation plan. Any failure of respondent to comply with the conditions of probation, or any misconduct during the probationary period, may be grounds for making the deferred suspension executory, or imposing additional discipline, as appropriate.
 

  IT IS FURTHER ORDERED that all costs and expenses in the matter are assessed against respondent in accordance with Supreme Court Rule XIX, § 10.1, | ¿with legal interest to commence thirty days from the date of finality of this court’s judgment until paid.
 



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   Chief Justice Kimball not participating in the opinion.
  
